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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Dougherty's Holdings, Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      1      –      0      6        4    4         3   9     3

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       5924 Royal Lane
                                       Number         Street                                           Number     Street
                                       Suite 250
                                                                                                       P.O. Box



                                       Dallas                              TX       75230
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Dallas                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Dougherty's Holding, Inc.                                                        Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY



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Debtor Dougherty's Holding, Inc.                                                         Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor See Exhibit "A"                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



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                       /s/ Gerrit M. Pronske
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                                      EXHIBIT “A”

10.   Debtor: Dougherty’s Pharmacy, Inc.
      Relationship to you: Affiliate
      District: Northern District of Texas

      Debtor: Dougherty’s Pharmacy, Inc.
      Relationship to you: Affiliate
      District: Northern District of Texas

      Debtor: Dougherty’s Pharmacy Forest Park, LLC
      Relationship to you: Affiliate
      District: Northern District of Texas

      Debtor: Dougherty’s Pharmacy McAlester, LLC
      Relationship to you: Affiliate
      District: Northern District of Texas
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